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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF INDIANA
                                         INDIANAPOLIS DIVISION

IN RE:                                                               CASE NO.13-07485-JJG-13
PAMELA SUE COWAN
DEBTOR(S)

                                   TRUSTEE'S MOTION TO DISMISS
                                WITH NOTICE OF OBJECTION DEADLINE

        Comes now, Ann M. DeLaney, Trustee herein, and moves the Court to enter an order dismissing the above
referenced Chapter 13 proceeding for the reason(s):

                                     Debtor is delinquent in payments to Trustee

         Parties are hereby notified that any objection to this Motion must be filed with the Court within twenty-one
(21) days from the date of service. Objections must be filed either electronically (for those who are authorized ECF
filers) or by delivery to the Clerk’s Office, by mail or in person at United States Bankruptcy Court, Room 116,
Birch Bayh Federal Building and United States Courthouse, 46 E. Ohio Street, Indianapolis, Indiana 46204.
The objection must be served on the trustee, the debtors, and any attorney for the debtor(s). If no objection is timely
filed, an order may be entered by the Court for the relief requested.


                                                           Respectfully submitted,


DATE: January 16, 2015
                                                            /s/Ann DeLaney
                                                            Ann DeLaney
                                                            P.O. Box 441285
                                                            Indianapolis, IN 46244
                                                            Telephone: (317) 829-7360
                                                            Facsimile: (317) 829-7369
                                                            Email:anndelaney341@trustee13.com

                                                   Certificate of Service

       I do hereby certify that a copy of the foregoing Trustee's Motion to Dismiss has been duly served
upon the following individuals, electronically or by United States mail, first-class postage prepaid, on this
date January 16, 2015:

U.S. Trustee        via electronic mail

SAWIN SHEA & DES JARDINES                 via electronic mail

PAMELA SUE COWAN: 113 DIPLOMAT COURT #8, BEECH GROVE, IN 46107


                                                                     /s/Ann DeLaney
                                                                     Ann DeLaney
